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                        IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION


MEAGAN CARR                                                                         PLAINTIFF

 VS.                      CASE NO. 3:20-CV-00360-JM

PECO FOODS INC                                                                    DEFENDANT


                                                ORDER


       Pursuant to General Order No. 29, the Clerk has been delegated the authority to

provisionally approve Applications to Proceed In District Court Without Prepaying Fees or Costs

that are filed in Civil Rights cases under 42 U.S.C. § 2000(e) and to promptly file the Complaint.

Therefore, the Application is hereby granted.

       IT IS SO ORDERED this 6th day of November, 2020.

                                                  AT THE DIRECTION OF THE COURT
                                                  JAMES W. McCORMACK, CLERK



                                                  By: J. Kornegay
                                                      Deputy Clerk
